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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

CRIMINAL NO.
19-10301-ADB

                             UNITED STATES OF AMERICA

                                             v.

                                    ROBERT SOUCY

                    ORDER PURSUANT TO UNITED STATES v. KING,
                         818 F.2D 112, 115, footnote 3 (1st Cir. 1987)

                                   September 13, 2019
DEIN, U.S.M.J.

       The defendant is charged in an Indictment with conspiracy to distribute and

possess with intent to distribute 40 grams or more of fentanyl, 10 grams or more of

acetyl fentanyl, and carfentanil, in violation of 21 U.S.C. § 846. An initial appearance

was held before this court on September 13, 2019, at which time the defendant was

represented by counsel. The government moved for detention pending trial of this

matter on the grounds that the defendant poses a danger to the community and a

serious risk of flight.

       The defendant is presently in state custody awaiting trial in an unrelated matter.

Accordingly, all parties agreed to continue the detention hearing in the instant case until

such time as the defendant is released from state custody in accord with the protocol

set forth in United States v. King, 818 F.2d 112, 115, footnote 3 (1st Cir. 1987).

       I rule that the defendant has waived his right to have a detention hearing at his

first appearance in this case. Id. It is ORDERED that the detention hearing be, and
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the same hereby is, CONTINUED until further order of this Court. It is FURTHER

ORDERED that the defendant be, and he hereby is, DETAINED pending the detention

hearing. See 18 U.S.C. ' 3142(f) (ADuring a continuance, the defendant shall be

detained . . . .@).

        Review of the within Detention Order may be had by the defendant filing a motion

for revocation or amendment of the within Order pursuant to 18 U.S.C. § 3145(b)

regardless whether there has been a change of circumstances.

                                              / s / Judith Gail Dein
                                         JUDITH GAIL DEIN
                                         UNITED STATES MAGISTRATE JUDGE




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